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                       UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                   Case No. 04-cr-126-01/06-PB

Robert J. Gagalis, et al.



                                   O R D E R


     Robert Gagalis seeks to continue the trial because his lead

counsel has an irreconcilable scheduling conflict.                 His co-

defendants join in his request.         The government objects.

     The case is scheduled to begin with jury selection on June

5, 2006.     Gagalis’s lead trial counsel, James Rehnquist, is also

lead counsel in SEC v. Treadway, No. 04-cv-3464 (S.D.N.Y.), a

Securities and Exchange Commission enforcement action that is

scheduled for trial on June 19, 2006 before Judge Marrero.                      The

Treadway case predates this action and it has been rescheduled

once before because of a conflict with a prior trial date in this

case.     The trial is expected to take two weeks.              Judge Marrero is

understandably unwilling to continue the Treadway case yet again
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because his trial docket for the next 12 months is full and the

SEC will not consent to a July trial before a Magistrate Judge.

Thus, if I deny Gagalis’s motion, Rehnquist will either have to

withdraw as counsel in this matter or withdraw as counsel in

Treadway.

     The government argues that the motion to continue should be

denied and Rehnquist should be forced to choose between Gagalis

and Treadway.    It argues that Rehnquist can be forced to make

this choice because he is a partner in a large law firm and one

of his partners could fill in for him as lead counsel in either

this case or Treadway.       Alternatively, it contends that Gagalis’s

local counsel, Cathy Green, could assume the role of lead counsel

in this case while Rehnquist tries Treadway.

     Although I would very much like to try this case as

scheduled, I am unwilling to force Rehnquist to make the choice

that the government urges upon him.          Both Gagalis and Treadway

are complex cases that have required substantial pretrial

preparation.    Both cases will take multiple weeks to try.              It is

simply unrealistic to expect one of Rehnquist’s partners, with

his or her own busy law practice, to drop everything and be ready

for trial in either Treadway or this case with only two months to

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prepare for trial.    Further, although Gagalis’s local counsel is

a skilled criminal defense lawyer, she does not, to my knowledge,

have substantial experience in securities law.          Under the

circumstances, it would simply not be fair to force Gagalis to

trial without the lawyer that he has selected to lead his

defense.

     The next available date by which all parties will be

available for trial is November 7, 2006.        In granting the motion

to continue the trial until this date, I find pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendants in a speedy

trial.

     The parties are on notice that further continuances will not

be tolerated.

     SO ORDERED.


                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

April 19, 2006

cc: Counsel of Record


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